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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF WISCONSIN
                                  MADISON DIVISION

AMY BLEILE,
an individual,

       Plaintiff,
                                                     CASE NO:      3:18-CV-813
vs.

THE PATIO OF MARSHFIELD, INC,

      Defendant.
__________________________________/

                                            COMPLAINT

       Plaintiff, Amy Bleile (“Plaintiff”) by and through the undersigned counsel, hereby files this

Complaint and sues THE PATIO OF MARSHFIELD, INC, for injunctive relief, attorney’s fees and

costs pursuant to 42 U.S.C. §12181 et seq., (“Americans with Disabilities Act” or “ADA”) and

alleges:

                               JURISDICTION AND PARTIES

       1.      This is an action for declaratory and injunctive relief pursuant to Title III of the

Americans with Disabilities Act, 42 U.S.C. §12181 et seq., (hereinafter referred to as the “ADA”).

This Court is vested with original jurisdiction under 28 U.S.C. Sections 1331 and 1343.

       2.      Venue is proper in this Court, the Western District of Wisconsin pursuant to 28

U.S.C. §1391 (B) and Local Rules of the United States District Court for the Western District of

Wisconsin.

       3.      Plaintiff,   Amy    Bleile    (hereinafter   referred   to   as   “Bleile”)   is   a

resident of Whitewater, Wisconsin and is a qualified individual with a disability under the ADA.

Bleile suffers from what constitutes a “qualified disability” under the Americans with Disabilities
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Act of 1990, (“ADA”) and all other applicable Federal statutes and regulations to the extent that she

suffers from cerebral palsy and requires the use of a wheelchair for mobility and has limited use of

her upper extremities. Prior to instituting the instant action, Bleile visited the Defendant’s premises

at issue in this matter, and was denied full, safe and equal access to the subject property of

Defendant due to its lack of compliance with the ADA. Bleile continues to desire and intends to

visit the Defendant’s premises but continues to be denied full, safe and equal access due to the

barriers to access that continue to exist.

        4.      The Defendant, THE PATIO OF MARSHFIELD, INC, is a corporation registered to

do business and, in fact, conducting business in the State of Wisconsin. Upon information and

belief, THE PATIO OF MARSHFIELD, INC, (hereinafter referred to as “TPOM”) is the owner,

lessee and/or operator of the real property and improvements that is the subject of this action,

specifically: The Pine Cone Restaurant, located at 665 Linmar Lane, in Johnson Creek, Wisconsin

(hereinafter referred to as “Restaurant”).

        5.      All events giving rise to this lawsuit occurred in the Western District of Wisconsin.

                            COUNT I - VIOLATION OF THE ADA

        6.      On or about July 26, 1990, Congress enacted the Americans with Disabilities Act

(“ADA”), 42 U.S.C. §12101 et seq. Commercial enterprises were provided one and a half years

from enactment of the statute to implement its requirements. The effective date of Title III of the

ADA was January 26, 1992. 42 U.S.C. §12181; 20 C.F.R. §36.508 (A).

        7.      Pursuant to 42 U.S.C. §12181(7) and 28 C.F.R. §36.104, the Restaurant owned by

TPOM is a place of public accommodation in that it is a restaurant operated by a private entity that

provides goods and services to the public.

        8.      Defendant, TPOM, has discriminated and continues to discriminate against the

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Plaintiff, and others who are similarly situated, by denying access to, and full, safe and equal

enjoyment of goods, services, facilities, privileges, advantages and/or accommodations at the

Restaurant in derogation of 42 U.S.C §12101 et seq.

        9.        The Plaintiff has been unable to and continues to be unable to enjoy access to, and the

benefits of the services offered at Restaurant owned by TPOM. Prior to the filing of this lawsuit,

Plaintiff personally and regularly visited the Restaurant at issue in this lawsuit and was denied access

to the benefits, accommodations and services of the Defendant’s premises and therefore suffered an

injury in fact as a result of the barriers listed in Paragraph 11, below, that the Plaintiff personally

encountered. In addition, Plaintiff continues to desire and intends to visit the Restaurant, but

continues to be injured in that she is unable to and continues to be discriminated against due to the

barriers to access which remain at the Restaurant in violation of the ADA. Bleile has now and

continues to have reasonable grounds for believing that she has been and will be discriminated

against because of the Defendant’s continuing deliberate and knowing violations of the ADA.

        10.       Pursuant to the mandates of 42 U.S.C. §12134(a), on July 26, 1991, the Department

of Justice, Office of the Attorney General, promulgated Federal Regulations to implement the

requirements of the ADA 28 C.F.R. Part 36.

        11.       TPOM is in violation of 42 U.S.C. §12181 et seq. and 28 C.F.R. §36.302 et seq. and

is discriminating against the Plaintiff as a result of inter alia, the following specific violations that

Plaintiff personally encountered:

             i.   There are an insufficient number of accessible parking spaces in the parking area.

         ii.      The two accessible parking spaces located to the right of the right-side entry have

                  running slopes that are too steep for a wheelchair user and have no accessible

                  signage.

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         iii.   The accessible parking spaces to the left of the left side entry have no access aisles

                for a wheelchair user and no accessible signage.

         iv.    There are no van accessible parking spaces provided.

          v.    The curb ramp that accesses the left side entry has a running slope and flared sides

                that are too steep for a wheelchair user.

         vi.    At the right-side entry there is insufficient maneuvering space at the door. (The door

                cannot be opened from the exterior.)

        vii.    At the left side entry there is insufficient maneuvering space at the door. (The door

                cannot be opened from the exterior.)

       viii.    In the left side dining area there is no wheelchair accessible seating.

         ix.    In the right-side dining area there is no wheelchair accessible seating.

          x.    There is no accessible signage for the either Men’s or Women’s toilet room entry

                doors.

         xi.    There is insufficient maneuvering space at the entry door to the Women’s toilet room

                for a wheelchair user.

        xii.    The checkout counter at the bakery is too high for a wheelchair user.

        12.     There are other current barriers to access and violations of the ADA at the Restaurant

owned and operated by TPOM that were not specifically identified herein as the Plaintiff is not

required to engage in a futile gesture pursuant to 28 C.F.R. Part 36, §36.501 and, as such, only once

a full inspection is performed by Plaintiff or Plaintiff’s representatives can all said violations be

identified.

        13.     To date, the barriers to access and other violations of the ADA still exist and have not

been remedied or altered in such a way as to effectuate compliance with the provisions of the ADA.

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        14.     Pursuant to the ADA, 42 U.S.C. §12101 et seq. and 28 C.F.R. §36.304, TPOM was

required to make its Restaurant, a place of public accommodation, accessible to persons with

disabilities by January 28, 1992. To date, TPOM has failed to comply with this mandate.

        15.     Plaintiff has been obligated to retain undersigned counsel for the filing and

prosecution of this action. Plaintiff is entitled to have his reasonable attorney’s fees, costs and

expenses paid by TPOM pursuant to 42 U.S.C. §12205.

        16.     Pursuant to 42 U.S.C. §12188, this Court is vested with the authority to grant Plaintiff

injunctive relief, including an Order to alter the subject facilities to make them readily accessible to,

and useable by, individuals with disabilities to the extent required by the ADA, and closing the

subject facilities until the requisite modifications are completed.

        WHEREFORE, the Plaintiff demands judgment against THE PATIO OF MARSHFIELD,

INC, and requests the following injunctive and declaratory relief:

                A.      That the Court declare that the property owned and administered by
                        Defendant is violative of the ADA;

                B.      That the Court enter an Order directing Defendant to alter its facilities
                        to make them accessible to and useable by individuals with disabilities
                        to the full extent required by Title III of the ADA;

                C.      That the Court enter an Order directing Defendant to evaluate and
                        neutralize its policies and procedures towards persons with disabilities
                        for such reasonable time so as to allow them to undertake and complete
                        corrective procedures;

                D.      That the Court award reasonable attorney’s fees, costs (including
                        expert fees) and other expenses of suit, to the Plaintiff; and

                E.      That the Court award such other and further relief as it deems
                        necessary, just and proper.

        Dated this 30th day of September, 2019.



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                                               Respectfully submitted,


                                               By:    /s/ Edward I. Zwilling
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